              Case 23-12418-KCF                   Doc 1      Filed 03/24/23 Entered 03/24/23 11:34:39                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Jonathan Ron, Inc.

2.   All other names debtor       FKA     Jonathan Ron Brielle, Inc.
     used in the last 8 years
                                  FKA     Jonathan Ron Circle, Inc.
     Include any assumed          DBA     Jonathan Ron Liquors
     names, trade names and       DBA     JR's Bev. Co.
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1801 Highway 35 North                                           1801 Highway 35 North
                                  Wall, NJ 07719                                                  Wall, NJ 07719
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Monmouth                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  1801 Highway 35 Wall, NJ 07719
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Jonathan Ron, Inc.                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    Jonathan Ron, Inc.                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Jonathan Ron, Inc.                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 24, 2023
                                                  MM / DD / YYYY


                             X   /s/ Dilip M. Shah                                                        Dilip M. Shah
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Eugene D. Roth                                                        Date March 24, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Eugene D. Roth
                                 Printed name

                                 Law Office of Eugene D. Roth
                                 Firm name

                                 2520 Highway 35, Suite 307
                                 Manasquan, NJ 08736
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     732-292-9288                  Email address      erothesq@gmail.com

                                 4239 NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Jonathan Ron, Inc.

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration       List of Equity Security Holders
                                                                Corporate Ownership Statment

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 24, 2023                  X /s/ Dilip M. Shah
                                                           Signature of individual signing on behalf of debtor

                                                            Dilip M. Shah
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                Case 23-12418-KCF               Doc 1         Filed 03/24/23 Entered 03/24/23 11:34:39                                         Desc Main
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 Fill in this information to identify the case:
 Debtor name Jonathan Ron, Inc.
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                              Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Allied Beverage                                     Liquor Purchases                                                                                          $322,199.30
 Group, LLC
 c/o
 King,Kitrick,Jackso
 n,McWeeney&Wells
 2329 Route 34 South
 Suite 104
 Manasquan, NJ
 08736
 Atlantic Systems Inc                                Liquor Purchases                                                                                              $1,559.52
 1720 Route 34 North
 Belmar, NJ 07719
 Atlantic Systems Inc                                Liquor Purchases                                                                                              $1,559.52
 1720 Route 34 North
 Belmar, NJ 07719
 CFG Merchant                                        Business Loan                                          $53,280.00                        $0.00              $53,280.00
 Solutions, LLC                                      against Accounts
 180 Maiden Lane                                     Receivables
 15th Floor
 New York, NY 10038
 Fedway Associates,                                  Inventory (Beer,                                       $62,232.78                 $85,000.00                $14,870.39
 Inc.                                                Wine and Liquor)
 c/o Raff Masone &
 Weeks, P.A.
 1083 Avenue C
 Bayonne, NJ 07002
 Heartland Payment                                   Credit Card                                                                                                   $3,392.11
 Systems                                             Processing Fees
 1 Heartland Way
 Jeffersonville, IN
 47130
 Itria Ventures LLC                                  Business Loan                                          $75,925.12                        $0.00              $75,925.12
 c/o Seidman &                                       against Accounts
 Pincus LLC                                          Receivables
 777 Terrace Avenue,
 Suite 508
 Hasbrouck Heights,
 NJ 07604

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Jonathan Ron, Inc.                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Kevin Neal                                          Wage and hour             Unliquidated                                                                              $0.00
 306 15th Ave                                        Complaint                 Disputed
 Belmar, NJ 07719
 Monera Capital                                      Business Loan                                          $65,000.00                        $0.00              $65,000.00
 Group, LLC                                          against Accounts
 1395 Brickell Ave                                   Receivables
 Suite 800
 Miami, FL 33131
 New Jersey Division                                 Sales Taxes from                                                                                          $177,549.28
 of Taxation                                         10/2018 through
 PO Box 245                                          10/2022
 Trenton, NJ
 08695-0245
 Specialty Capital                                   Business Loan                                          $82,650.00                        $0.00              $82,650.00
 LLC                                                 against Accounts
 6860 Austin Street                                  Receivables
 Suite 603
 Forest Hills, NY
 11375
 WBSC Partners LLC                                   Rental Arrears                                                                                            $118,059.94
 625 West Ridge Pike
 Building A, Suite
 100
 Conshohocken, PA
 19428
 Wine Outlet Brick,                                                            Contingent                                                                                $0.00
 LLC                                                                           Unliquidated
 c/o Stone Mandia                                                              Disputed
 LLP
 685 Neptune Blvd.
 Neptune City, NJ
 07753
 Wine Outlet Wall                                                              Contingent                                                                                $0.00
 Township, LLC                                                                 Unliquidated
 c/o Stone Mandia                                                              Disputed
 LLC
 685 Neptune Blvd
 Neptune City, NJ
 07753




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Fill in this information to identify the case:

 Debtor name            Jonathan Ron, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        5,196,587.58

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        5,196,587.58


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           526,725.51


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           177,549.28

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           446,770.39


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,151,045.18




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name      Jonathan Ron, Inc.

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number


          3.1.   TD Bank, N.A.                                   Checking                        1801                                       $989.00




          3.2.   HSBC Bank USA                                   Checking                        3363                                             $0.00




          3.3.   Heartland Payment Systems                       Payment Processing              6033                                    $31,054.53




          3.4.   HSBC Bank USA                                   Checking                        2804                                             $0.00




          3.5.   HSBC Bank USA                                   Checking                        3452                                             $0.00




          3.6.   HSBC Bank USA                                   Checking                        3479                                         $25.05




Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                                 page 1
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Debtor           Jonathan Ron, Inc.                                                         Case number (If known)
                 Name




          3.7.     TD Bank, N.A.                                      Checking                             1794                              $0.00




          3.8.     TD Bank, N.A.                                      Checking                             1819                              $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                         $32,068.58
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                          0.00      -                                   0.00 = ....                       $0.00
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                                $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          Inventory (Beer, Wine
          and Liquor)                        03/20/2023                                   $0.00      Recent cost                       $85,000.00

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 2
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Debtor       Jonathan Ron, Inc.                                                             Case number (If known)
             Name




22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                        $85,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Camera System and Computer Server                                               $0.00     Recent cost                        $3,500.00


          Refrigeration                                                                   $0.00                                       $50,000.00


          Wine Rack Equipment                                                             $0.00                                       $20,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $73,500.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor        Jonathan Ron, Inc.                                                        Case number (If known)
              Name

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used   Current value of
           Include year, make, model, and identification numbers      debtor's interest         for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                              (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.    2010 Chevrolet Cargo Van Model 1500                               $0.00     Kelly Blue Book                    $6,019.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                                     $6,019.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used   Current value of
                                                                      debtor's interest         for current value       debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 4
           Case 23-12418-KCF                   Doc 1      Filed 03/24/23 Entered 03/24/23 11:34:39                       Desc Main
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Debtor        Jonathan Ron, Inc.                                                           Case number (If known)
              Name

           Liquor License No.: 1352-32-007-004                                           $0.00     Comparable sale               $3,000,000.00


           Liquor License No.: 1308-44-007-004                                           $0.00     Comparable sale               $2,000,000.00



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                   $5,000,000.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
            Case 23-12418-KCF                             Doc 1          Filed 03/24/23 Entered 03/24/23 11:34:39                                         Desc Main
                                                                        Document      Page 15 of 31
Debtor          Jonathan Ron, Inc.                                                                                  Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $32,068.58

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $85,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $73,500.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $6,019.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                              $5,000,000.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $5,196,587.58            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $5,196,587.58




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6
          Case 23-12418-KCF                         Doc 1         Filed 03/24/23 Entered 03/24/23 11:34:39                                 Desc Main
                                                                 Document      Page 16 of 31
Fill in this information to identify the case:

Debtor name         Jonathan Ron, Inc.

United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   American B.D. Company                        Describe debtor's property that is subject to a lien                   $37,637.61                $85,000.00
      Creditor's Name                              Inventory (Beer, Wine and Liquor)
      c/o Mitchell J. Malzberg,
      LLC
      6 E. Main Street, Suite 7
      Clinton, NJ 08809
      Creditor's mailing address                   Describe the lien
                                                   Docketed Judgment
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      12/01/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6222
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. American B.D. Company
      2. Fedway Associates, Inc.

      CFG Merchant Solutions,
2.2                                                                                                                       $53,280.00                      $0.00
      LLC                                          Describe debtor's property that is subject to a lien
      Creditor's Name                              Business Loan against Accounts Receivables
      180 Maiden Lane
      15th Floor
      New York, NY 10038
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      07/22/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
          Case 23-12418-KCF                       Doc 1          Filed 03/24/23 Entered 03/24/23 11:34:39                               Desc Main
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Debtor      Jonathan Ron, Inc.                                                                    Case number (if known)
            Name

      1050
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Fedway Associates, Inc.                     Describe debtor's property that is subject to a lien                     $62,232.78       $85,000.00
      Creditor's Name                             Inventory (Beer, Wine and Liquor)
      c/o Raff Masone & Weeks,
      P.A.
      1083 Avenue C
      Bayonne, NJ 07002
      Creditor's mailing address                  Describe the lien
                                                  Docketed Judgment
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/07/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7522
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

2.4   Itria Ventures LLC                          Describe debtor's property that is subject to a lien                     $75,925.12            $0.00
      Creditor's Name                             Business Loan against Accounts Receivables
      c/o Seidman & Pincus LLC
      777 Terrace Avenue, Suite
      508
      Hasbrouck Heights, NJ
      07604
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      01/17/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6622
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Monera Capital Group, LLC                   Describe debtor's property that is subject to a lien                     $65,000.00            $0.00




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 4
          Case 23-12418-KCF                       Doc 1          Filed 03/24/23 Entered 03/24/23 11:34:39                                Desc Main
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Debtor      Jonathan Ron, Inc.                                                                    Case number (if known)
            Name

      Creditor's Name                             Business Loan against Accounts Receivables
      1395 Brickell Ave
      Suite 800
      Miami, FL 33131
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      04/07/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6602
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Specialty Capital LLC                       Describe debtor's property that is subject to a lien                      $82,650.00           $0.00
      Creditor's Name                             Business Loan against Accounts Receivables
      6860 Austin Street
      Suite 603
      Forest Hills, NY 11375
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      06/10/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      United States Small
2.7                                                                                                                        $150,000.00           $0.00
      Business Administrat                        Describe debtor's property that is subject to a lien
      Creditor's Name

      2 North 20th Street
      Birmingham, AL 35203
      Creditor's mailing address                  Describe the lien
                                                  EIDL Loan and UCC-1
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      05/19/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7410

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 4
          Case 23-12418-KCF                      Doc 1          Filed 03/24/23 Entered 03/24/23 11:34:39                                  Desc Main
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Debtor      Jonathan Ron, Inc.                                                                   Case number (if known)
            Name

      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative      Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $526,725.51

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       American B.D. Company
       d/b/a OPICI Family Distributing                                                                   Line   2.1
       25 De Boar Drive
       Glen Rock, NJ 07452

       Fedway Associates
       PO Box 651                                                                                        Line   2.3
       Basking Ridge, NJ 07920-0651

       Itria Ventures, LLC
       One Penn Plaza                                                                                    Line   2.4
       Suite 3010
       New York, NY 10019




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
            Case 23-12418-KCF                       Doc 1       Filed 03/24/23 Entered 03/24/23 11:34:39                                              Desc Main
                                                               Document      Page 20 of 31
Fill in this information to identify the case:

Debtor name        Jonathan Ron, Inc.

United States Bankruptcy Court for the:          DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                $177,549.28          $177,549.28
          New Jersey Division of Taxation                      Check all that apply.
          PO Box 245                                              Contingent
          Trenton, NJ 08695-0245                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Sales Taxes from 10/2018 through 10/2022
          Last 4 digits of account number 4783                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $322,199.30
          Allied Beverage Group, LLC
          c/o King,Kitrick,Jackson,McWeeney&Wells                                Contingent
          2329 Route 34 South                                                    Unliquidated
          Suite 104                                                              Disputed
          Manasquan, NJ 08736
                                                                             Basis for the claim:     Liquor Purchases
          Date(s) debt was incurred 12/28/2021
          Last 4 digits of account number 9236                               Is the claim subject to offset?           No   Yes


3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $1,559.52
          Atlantic Systems Inc                                                   Contingent
          1720 Route 34 North                                                    Unliquidated
          Belmar, NJ 07719                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Liquor Purchases
          Last 4 digits of account number    6284
                                                                             Is the claim subject to offset?           No   Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 3
                                                                                                               52435
           Case 23-12418-KCF                      Doc 1        Filed 03/24/23 Entered 03/24/23 11:34:39                                          Desc Main
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Debtor       Jonathan Ron, Inc.                                                                     Case number (if known)
             Name

3.3       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,559.52
          Atlantic Systems Inc                                                Contingent
          1720 Route 34 North                                                 Unliquidated
          Belmar, NJ 07719                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Liquor Purchases
          Last 4 digits of account number   6283
                                                                           Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,392.11
          Heartland Payment Systems                                           Contingent
          1 Heartland Way                                                     Unliquidated
          Jeffersonville, IN 47130                                            Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Credit Card Processing Fees
          Last 4 digits of account number   6033
                                                                           Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Kevin Neal                                                          Contingent
          306 15th Ave                                                         Unliquidated
          Belmar, NJ 07719
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Wage and hour Complaint
          Last 4 digits of account number   1041
                                                                           Is the claim subject to offset?     No       Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $118,059.94
          WBSC Partners LLC                                                   Contingent
          625 West Ridge Pike                                                 Unliquidated
          Building A, Suite 100                                               Disputed
          Conshohocken, PA 19428
                                                                           Basis for the claim:    Rental Arrears
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Wine Outlet Brick, LLC                                               Contingent
          c/o Stone Mandia LLP
                                                                               Unliquidated
          685 Neptune Blvd.
          Neptune City, NJ 07753                                               Disputed

          Date(s) debt was incurred                                        Basis for the claim:
          Last 4 digits of account number   0222                           Is the claim subject to offset?     No       Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Wine Outlet Wall Township, LLC                                       Contingent
          c/o Stone Mandia LLC
                                                                               Unliquidated
          685 Neptune Blvd
          Neptune City, NJ 07753                                               Disputed

          Date(s) debt was incurred                                        Basis for the claim:
          Last 4 digits of account number   0522                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
           Case 23-12418-KCF                  Doc 1       Filed 03/24/23 Entered 03/24/23 11:34:39                                 Desc Main
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Debtor      Jonathan Ron, Inc.                                                          Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.1       Allied Beverage Group, LLC
          700 Kapkowski Road                                                           Line     3.1
          Elizabeth, NJ 07201
                                                                                              Not listed. Explain

4.2       WBSC Partners LLC
          c/o Hunton Andrews Kurth LLP                                                 Line     3.6
          2200 Pennsylvania Ave, N.W.
                                                                                              Not listed. Explain
          Washington, DC 20037


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                              5a.         $                    177,549.28
5b. Total claims from Part 2                                                              5b.    +    $                    446,770.39

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.         $                      624,319.67




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 3
          Case 23-12418-KCF                   Doc 1       Filed 03/24/23 Entered 03/24/23 11:34:39                                 Desc Main
                                                         Document      Page 23 of 31
Fill in this information to identify the case:

Debtor name       Jonathan Ron, Inc.

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Commercial Lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             WBSC Partners LLC
                                                                                    625 West Ridge Pike
           List the contract number of any                                          Building A, Suite 100
                 government contract                                                Conshohocken, PA 19428


2.2.       State what the contract or            Disputed Contract of
           lease is for and the nature of        Sale for Liquor License
           the debtor's interest                 No.: 1308-44-007-004
                                                 subject of pending
                                                 litigation Superior
                                                 Court of New Jersey,
                                                 Monmouth County,
                                                 under Docket No.:
                                                 MON-C-102-22, Wine
                                                 Outlet Brick, LLC v.
                                                 Jonathan Ron Inc. and
                                                 Dilip M. Shah
               State the term remaining                                             Wine Outlet Brick, LLC
                                                                                    c/o Stone Mandia LLP
           List the contract number of any                                          685 Neptune Blvd.
                 government contract                                                Neptune City, NJ 07753




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2
         Case 23-12418-KCF                 Doc 1    Filed 03/24/23 Entered 03/24/23 11:34:39                  Desc Main
                                                   Document      Page 24 of 31
Debtor 1 Jonathan Ron, Inc.                                                      Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.3.      State what the contract or        Disputed Contract of
          lease is for and the nature of    Sale for Liquor License
          the debtor's interest             No.: 1352-32-007-004
                                            subject of pending
                                            litigation Superior
                                            Court of New Jersey,
                                            Monmouth County,
                                            under Docket No.:
                                            MON-C-105-22, Wine
                                            Outlet Wall Township,
                                            LLC v. Jonathan Ron
                                            Inc. and Dilip M. Shah
             State the term remaining                                   Wine Outlet Wall Township, LLC
                                                                        c/o Stone Mandia LLC
          List the contract number of any                               685 Neptune Blvd
                government contract                                     Neptune City, NJ 07753




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2
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                                                          Document      Page 25 of 31
                                                      United States Bankruptcy Court
                                                                  District of New Jersey
 In re    Jonathan Ron, Inc.                                                                                      Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Dilip M. Shah                                                                                                                50% Ownership Interest
33 Brandywine Road
Ocean, NJ 07712

Latta D. Shah                                                                                                                50% Ownership Interest
33 Brandywine Road
Ocean, NJ 07712


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date March 24, 2023                                                      Signature /s/ Dilip M. Shah
                                                                                        Dilip M. Shah

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                          District of New Jersey
 In re   Jonathan Ron, Inc.                                                                       Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     March 24, 2023                                 /s/ Dilip M. Shah
                                                         Dilip M. Shah/President
                                                         Signer/Title
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                        Allied Beverage Group, LLC
                        c/o King,Kitrick,Jackson,McWeeney&Wells
                        2329 Route 34 South
                        Suite 104
                        Manasquan, NJ 08736


                        Allied Beverage Group, LLC
                        700 Kapkowski Road
                        Elizabeth, NJ 07201


                        American B.D. Company
                        c/o Mitchell J. Malzberg, LLC
                        6 E. Main Street, Suite 7
                        Clinton, NJ 08809


                        American B.D. Company
                        d/b/a OPICI Family Distributing
                        25 De Boar Drive
                        Glen Rock, NJ 07452


                        Atlantic Systems Inc
                        1720 Route 34 North
                        Belmar, NJ 07719


                        Atlantic Systems Inc
                        1720 Route 34 North
                        Belmar, NJ 07719


                        CFG Merchant Solutions, LLC
                        180 Maiden Lane
                        15th Floor
                        New York, NY 10038


                        Dilip M. Shah
                        33 Brandywine Road
                        Ocean, NJ 07712


                        Dilip M. Shah
                        33 Brandywine Road
                        Ocean, NJ 07712


                        Dilip M. Shah
                        33 Brandywine Road
                        Ocean, NJ 07712
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                    Dilip M. Shah
                    33 Brandywine Road
                    Ocean, NJ 07712


                    Dilip M. Shah
                    33 Brandywine Road
                    Ocean, NJ 07712


                    Fedway Associates
                    PO Box 651
                    Basking Ridge, NJ 07920-0651


                    Fedway Associates, Inc.
                    c/o Raff Masone & Weeks, P.A.
                    1083 Avenue C
                    Bayonne, NJ 07002


                    Heartland Payment Systems
                    1 Heartland Way
                    Jeffersonville, IN 47130


                    Itria Ventures LLC
                    c/o Seidman & Pincus LLC
                    777 Terrace Avenue, Suite 508
                    Hasbrouck Heights, NJ 07604


                    Itria Ventures, LLC
                    One Penn Plaza
                    Suite 3010
                    New York, NY 10019


                    Kevin Neal
                    306 15th Ave
                    Belmar, NJ 07719


                    Latta D. Shah
                    33 Brandywine Road
                    Ocean, NJ 07712


                    Latta D. Shah
                    33 Brandywine Road
                    Ocean, NJ 07712
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                    Latta D. Shah
                    33 Brandywine Road
                    Ocean, NJ 07712


                    Latta D. Shah
                    33 Brandywine Road
                    Ocean, NJ 07712


                    Latta D. Shah
                    33 Brandywine Road
                    Ocean, NJ 07712


                    Monera Capital Group, LLC
                    1395 Brickell Ave
                    Suite 800
                    Miami, FL 33131


                    New Jersey Division of Taxation
                    PO Box 245
                    Trenton, NJ 08695-0245


                    Specialty Capital LLC
                    6860 Austin Street
                    Suite 603
                    Forest Hills, NY 11375


                    United States Small Business Administrat
                    2 North 20th Street
                    Birmingham, AL 35203


                    WBSC Partners LLC
                    625 West Ridge Pike
                    Building A, Suite 100
                    Conshohocken, PA 19428


                    WBSC Partners LLC
                    c/o Hunton Andrews Kurth LLP
                    2200 Pennsylvania Ave, N.W.
                    Washington, DC 20037


                    WBSC Partners LLC
                    625 West Ridge Pike
                    Building A, Suite 100
                    Conshohocken, PA 19428
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                    Wine Outlet Brick, LLC
                    c/o Stone Mandia LLP
                    685 Neptune Blvd.
                    Neptune City, NJ 07753


                    Wine Outlet Brick, LLC
                    c/o Stone Mandia LLP
                    685 Neptune Blvd.
                    Neptune City, NJ 07753


                    Wine Outlet Wall Township, LLC
                    c/o Stone Mandia LLC
                    685 Neptune Blvd
                    Neptune City, NJ 07753


                    Wine Outlet Wall Township, LLC
                    c/o Stone Mandia LLC
                    685 Neptune Blvd
                    Neptune City, NJ 07753
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                                        United States Bankruptcy Court
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                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Jonathan Ron, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Dilip M. Shah
33 Brandywine Road
Ocean, NJ 07712
Latta D. Shah
33 Brandywine Road
Ocean, NJ 07712




  None [Check if applicable]




March 24, 2023                                 /s/ Eugene D. Roth
Date                                           Eugene D. Roth
                                               Signature of Attorney or Litigant
                                               Counsel for Jonathan Ron, Inc.
                                               Law Office of Eugene D. Roth
                                               2520 Highway 35, Suite 307
                                               Manasquan, NJ 08736
                                               732-292-9288 Fax:732-292-9303
                                               erothesq@gmail.com
